Case 3:15-cv-01637-JLS-MSB Document 70-1 Filed 02/03/17 PageID.1816 Page 1 of 31
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            Funky Films, Inc. v. Time Warner Entm’t Co., L.P
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Case 3:15-cv-01637-JLS-MSB Document 70-1 Filed 02/03/17 PageID.1821 Page 6 of 31



                'HIHQGDQWV&RQDFR//&&RQDQ2¶%ULHQ-HII5RVVDQG0LNH6ZHHQH\
          ³Conan 'HIHQGDQWV´7XUQHU%URDGFDVWLQJ6\VWHP,QF7LPH:DUQHU,QF³7XUQHU
          'HIHQGDQWV´FROOHFWLYHO\³'HIHQGDQWV´KHUHE\VXEPLWWKLVPHPRUDQGXPRISRLQWV
          DQGDXWKRULWLHVLQVXSSRUWWKHLU0RWLRQ)RU6XPPDU\-XGJPHQW$QG2U3DUWLDO
          6XPPDU\-XGJPHQW2U,Q7KH$OWHUQDWLYH6XPPDU\$GMXGLFDWLRQDVIROORZV
          ,    ,1752'8&7,21
                ConanLVDSRSXODUODWHQLJKWWDONVKRZWKDWDLUVRQ7%6 /LNHPDQ\RWKHUODWH
          QLJKWWDONVKRZVConan VWDUWVZLWKD PRQRORJXHIHDWXULQJVKRUW³PRQRORJXHVW\OH´
          MRNHV $PRQRORJXHVW\OHMRNHJHQHUDOO\LQFOXGHVDIDFWXDOVHWXSEDVHGRQDWUHQGLQJ
         QHZVRUPHGLDVWRU\IROORZHGE\DFRPHGLFSXQFKOLQH Conan¶VPRQRORJXHLV
         GHYHORSHGWKURXJKDWKRURXJKFUHDWLYHSURFHVVZKLFKHQFRPSDVVHVDWHDPRIZULWHUV
         DQGLQYROYHVPXOWLSOHFRQWHQWVXEPLVVLRQVDQGURXQGVRIUHYLHZ
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         VLPLODULWLHVEHWZHHQKLVMRNHVDQGConan¶VPRQRORJXHMRNHV 6XEVHTXHQWO\.DVHEHUJ
         FDOOHG'HIHQGDQW0LNH6ZHHQH\WKHQWKHKHDGZULWHUDWConanDQGDFFXVHGConan
         RIXVLQJKLVPDWHULDO 'XULQJWKHFDOO.DVHEHUJXQVXFFHVVIXOO\WULHGWROHYHUDJHKLV
         DFFXVDWLRQVLQWRDMREZULWLQJIRUConan 0RQWKVODWHU.DVHEHUJILOHGWKLVODZVXLW
         DJDLQVW'HIHQGDQWVDOOHJLQJFRS\ULJKWLQIULQJHPHQWDVWRILYHRIKLVMRNHV
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         .DVHEHUJIDLOHGWRUHJLVWHUWZRRIKLVILYHDVVHUWHGFRS\ULJKWVDQGWKHUHIRUHODFNV
         VWDQGLQJWRDVVHUWFRS\ULJKWLQIULQJHPHQWDVWRWKHVHWZRMRNHV 6HFRQG.DVHEHUJ
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Case 3:15-cv-01637-JLS-MSB Document 70-1 Filed 02/03/17 PageID.1822 Page 7 of 31



          PXVWHVWDEOLVKFRS\LQJWRSURYHFRS\ULJKWLQIULQJHPHQW %XWWZRRIWKHDFFXVHGMRNHV
          ZHUHFUHDWHGE\Conan¶VZULWHUVbefore .DVHEHUJSXEOLVKHGKLVMRNHVIRUWKHILUVW
          WLPH 7KXVDVDPDWWHURIODZDQGORJLF'HIHQGDQWVFRXOGQRWKDYHFRSLHGMRNHVWKH\
          FUHDWHGILUVWDQGFRXOGQRWKDYHLQIULQJHGWKHVHWZRMRNHV 7KLUG.DVHEHUJODFNVany
          HYLGHQFHRIGLUHFWLQIULQJHPHQWDVZHOODVanyHYLGHQFHWRHVWDEOLVK'HIHQGDQWV¶
          DFFHVVWR.DVHEHUJ¶VMRNHV ,QIDFW.DVHEHUJ¶VDFFHVVWKHRU\LVEDVHGVROHO\RQWKH
          IDFWWKDWKHSRVWHGKLVMRNHVRQOLQHZKLFKLVOHJDOO\LQVXIILFLHQWWRHVWDEOLVKDFFHVV
          )RXUWKDVDQ\VLPLODULWLHVEHWZHHQWKHPDUHOLPLWHGWRXQSURWHFWDEOHIDFWVDQGLGHDV
          .DVHEHUJFDQQRWHVWDEOLVKWKHUHTXLVLWHOHYHORIVLPLODULW\QHFHVVDU\WRVXVWDLQDQ
         LQIULQJHPHQWFODLP 6SHFLILFDOO\.DVHEHUJ¶VMRNHVDUHFRPSRVHGDOPRVWHQWLUHO\RI
         XQSURWHFWDEOHHOHPHQWV7KXVWKH\DUHHQWLWOHGWR³WKLQ´SURWHFWLRQDWEHVWZKLFKRQO\
         SURWHFWVDJDLQVWYLUWXDOFRS\LQJ $QGDQREMHFWLYHFRPSDULVRQRIWKHMRNHV
         GHPRQVWUDWHVWKH\DUHQRWYLUWXDOO\LGHQWLFDODQGWKXVFDQQRWVXSSRUWDQLQIULQJHPHQW
         FODLP )LIWKWKHConan'HIHQGDQWVLQGHSHQGHQWO\FUHDWHGWKHLUMRNHVZKLFKLVD
         FRPSOHWHGHIHQVHWRLQIULQJHPHQW)LQDOO\WKH&RXUWVKRXOGJUDQWVXPPDU\
         DGMXGLFDWLRQDVWR'HIHQGDQWV¶QRQZLOOIXOQHVVVLQFH.DVHEHUJIDLOHGWRSUHVHQWDQ\
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               $     7KH3DUWLHV
               ConanLVDODWHQLJKWWDONVKRZWKDWDLUVRQ7%6 8) &RQDQ2¶%ULHQFUHDWHG
         DQGKRVWVConan 8) -HII5RVVLVConan¶VH[HFXWLYHSURGXFHU 8) 0LNH
         6ZHHQH\ZDVConan¶VKHDGZULWHUGXULQJDOOWLPHVUHOHYDQWWRWKLVODZVXLW 8)
         7XUQHU%URDGFDVWLQJ6\VWHP,QFRZQVDQGRSHUDWHVWKHQHWZRUN7%6 8) 7LPH
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                  %    Conan¶V&UHDWLRQ3URFHVV
                  ConanDLUV0RQGD\WKURXJK7KXUVGD\RYHUIRUW\ZHHNVHDFK\HDU8)(DFK
         VKRZRSHQVZLWK2¶%ULHQGHOLYHULQJDPRQRORJXHWRDOLYHVWXGLRDXGLHQFH8)
         )RXUPRQRORJXHZULWHUVDQG2¶%ULHQFUHDWHConan¶VPRQRORJXHV8)
                  ,QSUHSDULQJWKHPRQRORJXHWKHZULWHUVIROORZDVSHFLILFGDLO\URXWLQH7R
         EHJLQWKHPRQRORJXHZULWHUVW\SLFDOO\VSHQGWKHILUVWKRXURIHDFKZRUNGD\FUDIWLQJ
         SUHPLVHVIURPWKHGD\¶VQHZVKHDGOLQHV8)(DFKZULWHUYLVLWVWKHLURZQVKRUWOLVW
         RIVSHFLILFRQOLQHQHZVZHEVLWHVWRVRXUFHWKHLUSUHPLVHV8)3UHPLVHVFUDIWHGE\
         PRQRORJXHLQWHUQVDUHDOVRFLUFXODWHGHDFKPRUQLQJ8)7KHLQWHUQVDUHUHTXLUHG
        WRLQGLFDWHWKHZHEVLWHIURPZKLFKWKH\VRXUFHGWKHSUHPLVHZLWKWKHLUVXEPLVVLRQV
        8)1RWDEO\WKHPRQRORJXHZULWHUVGRQRWUHVHDUFKVRFLDOPHGLDSURILOHVFRQGXFW
        JHQHUDOJRRJOHVHDUFKHVRUUHYLHZFRQWHQWRQRWKHUFRPHGLDQV¶EORJVVRFLDOPHGLD
        RUSHUVRQDOZHEVLWHVIRUWKHLUSUHPLVHUHVHDUFK8))ROORZLQJWKHSUHPLVH
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        HUURUVDQGPDNHVW\OLVWLFLPSURYHPHQWV8)7KH\DOVRUHPRYHUHGXQGDQWMRNHV
        FUHDWHGE\GLIIHUHQWPRQRORJXHZULWHUVDQHDUHYHU\GD\RFFXUUHQFHDQGMRNHVWKDW
        RWKHUZLVHGRQRWZRUN8))ROORZLQJWKHVHHGLWVWKHUHYLVHG%DWFKMRNHVDUH
        VHQWWR2¶%ULHQIRUUHYLHZ8)2¶%ULHQPDNHVPLQRUHGLWVDSSURYHVMRNHVIRUWKH
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          UHYLHZSUHDSSURYHG%DWFKDQGQHZ%DWFKMRNHVDQGVHOHFWVZKLFKMRNHVWRPRYH
          IRUZDUGZLWK 8)  7KHVHOHFWHGMRNHVDUHVHQWWRConan’sUHVHDUFKGHSDUWPHQWWR
          YHWIDFWXDODFFXUDF\DQGConan¶VSURGXFHUVWRYHWVSRQVRUVKLSLVVXHV 8)
                %\SPWKHZULWHUVFUHDWHDILQDOEDWFKRIMRNHVIRU%DWFKZKLFKLV
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          MRNHV DQGQHZMRNHVWKHZULWHUVFUHDWHGVLQFHWKHSPPHHWLQJ 8) 
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          ³VLGHNLFN´$QG\5LFKWHUWKHVKRZ¶VKHDGZULWHU5RVVDQGDIHZRWKHUVWDIIPHPEHUV
          PHHWWRILQDOL]HWKHVKRZ¶VPRQRORJXH 8)  0U2¶%ULHQWKHQUHDGVDOODSSURYHG
         PRQRORJXHMRNHVRIIFXHFDUGVLQFOXGLQJDQ\IURP%DWFK 8) 7KHJURXS
         GHFLGHVZKLFKRIWKHDSSURYHGMRNHVPDNHLWLQWRWKHILQDOL]HGPRQRORJXHDQGLQ
         ZKDWRUGHU 8) $WWKLVVWDJHSUHYLRXVO\DSSURYHGMRNHVPD\VWLOOEHWZHDNHGRU
         GLVFDUGHG±SDUWLFXODUO\LIDQ\RQHKDVVHHQRUKHDUGDVLPLODUMRNHGRQHHOVHZKHUH 8)
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         VRWKDWWKHMRNHVDUHMXGJHGRQWKHLUPHULWVDORQH 8) %HFDXVHWKHPRQRORJXH
         MRNHVDUHZULWWHQVXEPLWWHGDQGHYHQWXDOO\XVHGRQWKHVKRZZLWKRXWDWWULEXWLRQWR
         DQ\SDUWLFXODUZULWHUWKHTXDOLW\RUTXDQWLW\RIWKHRXWSXWE\DSDUWLFXODUZULWHULVQRW
         PHDVXUHGDQGGRHVQRWEHDURQDZULWHU¶VVWDQGLQJDWWKHVKRZ 8) 
               &     7KH-RNHV$W,VVXH
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         IROORZLQJ³'HOWD-RNH´RQKLVEORJ ³$'HOWDIOLJKWWKLVZHHNWRRNRIIIURP&OHYHODQG
         WR1HZ<RUNZLWKMXVWWZRSDVVHQJHUV $QGWKH\IRXJKWRYHUFRQWURORIWKHDUPUHVW
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                7KHConan'HIHQGDQWV¶DFFXVHG'HOWD-RNHUHDGVDVIROORZV³7KLVQHYHU
          KDSSHQVDQ\PRUH 7KLVLVDVWUDQJHVWRU\ 2Q0RQGD\D'HOWDIOLJKWIURP&OHYHODQG
          WR1HZ<RUNWRRNRIIZLWKMXVWWZRSDVVHQJHUV 7ZRSDVVHQJHUVRQWKHZKROHSODQH
          <HWVRPHKRZWKH\VSHQWWKHZKROHIOLJKWILJKWLQJRYHUWKHDUPUHVW$VLIWKH\
          ZRXOGQ¶WVLWWRJHWKHUEXWWKH\GLG (YHU\RQH¶VRN´8)  7KLVMRNHDLUHGRQ-DQXDU\
           8). ,PSRUWDQWO\WKHConanPRQRORJXHZULWHUZKRFUHDWHGWKHMRNH
          -RVK&RPHUVVXEPLWWHGLWYLDHPDLORQ-DQXDU\DWDP 8) 7KXV
          WKHConan'HIHQGDQWVFUHDWHGWKHLU'HOWD-RNHQHDUO\ILYHKRXUVEHIRUH.DVHEHUJILUVW
         SRVWHGKLVYHUVLRQRIWKHMRNH $OVR.DVHEHUJSXEOLVKHGKLV'HOWD-RNHMXVWVL[WHHQ
         PLQXWHVEHIRUHWKH-DQXDU\ConanHSLVRGHEHJDQWDSLQJDIWHUDOOMRNHVIRU
         WKDWVKRZZHUHYHWWHGDQGILQDOL]HG 8)
               7KH:DVKLQJWRQ0RQXPHQW-RNH.DVHEHUJSRVWHGWKHIROORZLQJ
         ³:DVKLQJWRQ0RQXPHQW-RNH´WR7ZLWWHURQ)HEUXDU\DWDPDQGWR
         KLVEORJDWDP³7KH:DVKLQJWRQ0RQXPHQWLVWHQLQFKHVVKRUWHUWKDQ
         SUHYLRXVO\WKRXJKW <RXNQRZWKHZLQWHUKDVEHHQFROGZKHQDPRQXPHQWVXIIHUV
         IURPVKULQNDJH´8)  .DVHEHUJ¶VHIIHFWLYHUHJLVWUDWLRQGDWHIRUWKLVMRNHLV
         'HFHPEHU8)  
               7KHConan'HIHQGDQWV¶DFFXVHG:DVKLQJWRQ0RQXPHQW-RNHUHDGVDVIROORZV
         ³<HVWHUGD\VXUYH\RUV¶DQQRXQFHGWKDWWKH:DVKLQJWRQ0RQXPHQWLVWHQLQFKHV
         VKRUWHUWKDQZKDW¶VEHHQSUHYLRXVO\UHFRUGHG <HDK 2IFRXUVHWKHPRQXPHQWLV
         EODPLQJWKHVKULQNDJHRQWKHFROGZHDWKHU 3HQLVMRNH´8)  7KLVMRNHDLUHGRQ
         )HEUXDU\ 8)  %ULDQ.LOH\VXEPLWWHGWKLVMRNHYLDHPDLORQ)HEUXDU\
         DWSP 8) 
               6LJQLILFDQWO\2¶%ULHQSUHYLRXVO\WROGDYHUVLRQRIWKH:DVKLQJWRQ0RQXPHQW
         -RNHGXULQJWKH-DQXDU\PRQRORJXHRYHUD\HDUEHIRUH.DVHEHUJFUHDWHGKLV
         YHUVLRQRIWKH:DVKLQJWRQ0RQXPHQWMRNH 8) 7KHSUHPLVHRIConan¶V
         :DVKLQJWRQ0RQXPHQW-RNHUHDGVDVIROORZV³7KH(DVW&RDVWLVVWDUWLQJWRZDUPXS
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           0(025$1'802)32,176$1'$87+25,7,(6,62'()(1'$176¶027,21)256800$5<-8'*0(17$1'25
                   3$57,$/6800$5<-8'*0(1725,17+($/7(51$7,9(6800$5<$'-8',&$7,21
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          7KDW¶VWKHJRRGQHZV%XWLWJRWYHU\FROGWKHUHIRUDZKLOHHVSHFLDOO\LQ:DVKLQJWRQ
          '&5HFRUGORZWHPSHUDWXUHVWKLVZHHN&KHFNRXWWKLVWLPHODSVHIRRWDJHRIWKH
          FROGIURQWKLWWLQJWKH:DVKLQJWRQ0RQXPHQW´)ROORZLQJWKLVVHWXSDYLGHRFOLSDLUHG
          GHSLFWLQJWKH:DVKLQJWRQ0RQXPHQWVKULQNLQJ8)
                   7KH8$%-RNH2Q'HFHPEHU.DVHEHUJSRVWHGWKHIROORZLQJ³8$%
          -RNH´RQKLVEORJ³7KH8QLYHUVLW\RI$ODEDPD%LUPLQJKDPLVVKXWWLQJGRZQLWV
          IRRWEDOOSURJUDP7RZKLFKWKH2DNODQG5DLGHUVVDLGµ:DLWVR\RXFDQGRWKDW"¶´
          8).DVHEHUJGLGQRWSURGXFHDFRS\ULJKWUHJLVWUDWLRQIRUWKLVMRNH8)
                   7KHConan'HIHQGDQWV¶DFFXVHG³8$%-RNH´UHDGV³%LJQHZVLQVSRUWV
         8QLYHUVLW\RI$ODEDPD%LUPLQJKDPKDVGHFLGHGWRGLVFRQWLQXHLWVIRRWEDOOWHDP
         <HDK:KHQWKH\KHDUGWKLVQHZV1HZ<RUN-HWVIDQVVDLGµ:DLWFDQ\RXGRWKDW"
         ,W¶VVRPHWKLQJ\RXFDQGR"¶´8)7KLVMRNHDLUHGRQConanRQ'HFHPEHU
         8).LOH\VXEPLWWHGWKLVMRNHYLDHPDLORQ'HFHPEHUDWDP8)
         1RWDEO\2¶%ULHQKDVXVHGDYDULDWLRQRIWKHSXQFKOLQH³:DLW\RXFDQGRWKDW"´LQ
         KLVPRQRORJXHVIRU\HDUV8)6LQFHYDULRXVConanPRQRORJXHZULWHUV
         VXEPLWWHGRYHUWZHQW\ILYHMRNHVZLWKVRPHYDULDWLRQRIWKLVSXQFKOLQH8)
                  7KH7RP%UDG\-RNH.DVHEHUJSRVWHGWKHIROORZLQJ³7RP%UDG\-RNH´WR
         7ZLWWHURQ)HEUXDU\DWDPDQGWRKLVEORJDWDP³7RP%UDG\
         VDLGKHZDQWVWRJLYHKLV093WUXFNWRWKHPDQZKRZRQWKHJDPHIRUWKH3DWULRWV
         6RHQMR\WKDWWUXFN3HWH&DUUROO´8).DVHEHUJGLGQRWSURGXFHDFRS\ULJKW
         UHJLVWUDWLRQIRUWKLVMRNH8)
                  7KHConan'HIHQGDQWV¶DFFXVHG7RP%UDG\-RNHUHDGVDVIROORZV³7RP
         %UDG\VDLGKHZDQWVWRJLYHWKHWUXFNWKDWKHZDVJLYHQDV6XSHU%RZO093JLYHWKH
         WUXFNWRWKHJX\ZKRZRQWKH6XSHU%RZOIRUWKH3DWULRWV:KLFKLVYHU\QLFH,WKLQN
         WKDW¶VQLFH,GR<HV6R%UDG\¶VJLYLQJKLVWUXFNWR6HDKDZNVFRDFK3HWH&DUUROO´
         8)7KLVMRNHDLUHGRQConanRQ)HEUXDU\8).LOH\VXEPLWWHGWKLV
         MRNHYLDHPDLORQ)HEUXDU\DWSP8)
                  7KH%UXFH-HQQHU-RNH.DVHEHUJSRVWHGWKHIROORZLQJ³%UXFH-HQQHU-RNH´
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                0(025$1'802)32,176$1'$87+25,7,(6,62'()(1'$176¶027,21)256800$5<-8'*0(17$1'25
                        3$57,$/6800$5<-8'*0(1725,17+($/7(51$7,9(6800$5<$'-8',&$7,21
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           WRKLVEORJRQ-XQHDW DPDQGWR7ZLWWHUDWDP³7KUHHWRZQV
           WZRLQ7H[DVRQHLQ7HQQHVVHHKDYHVWUHHWVQDPHGDIWHU%UXFH-HQQHUDQGQRZWKH\
           KDYHWRFRQVLGHUFKDQJLQJWKHPWR&DLWO\Q$QGRQHZLOOKDYHWRFKDQJHIURPD&XO
           'H6DFWRD&XO'H6DFNOHVV´ 8)  .DVHEHUJ¶VHIIHFWLYHUHJLVWUDWLRQGDWHVIRUWKLV
           MRNHDUH-XQHDQG6HSWHPEHU 8) 
                 7KHConan'HIHQGDQWV¶DFFXVHG%UXFH-HQQHU-RNHUHDGVDVIROORZV³6RPH
           FLWLHVWKDWKDYHVWUHHWVQDPHGDIWHU%UXFH-HQQHUDUHWU\LQJWRFKDQJHWKHVWUHHWV¶
           QDPHVWR&DLWO\Q-HQQHU ,I\RXOLYHRQ%UXFH-HQQHUFXOGHVDFLWZLOOQRZEHFXOGH
           QRVDFN´8) 7KLVMRNHDLUHGRQConanRQ-XQH 8)  5RE.XWQHU
          VXEPLWWHGWKLVMRNHYLDHPDLORQ-XQHDWSP 8) 
                '     .DVHEHUJ¶V-RNH7KHIW$FFXVDWLRQ
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          8)  ,QIDFWKHZURWHDERXWKLVGHVLUHWRZRUNDWConanDVHDUO\DV 8) 
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                5HOHYDQWWRWKLVODZVXLW.DVHEHUJSXUSRUWHGO\VWDUWHGQRWLFLQJVLPLODULWLHV
          EHWZHHQKLVMRNHVDQGWKHConan 'HIHQGDQWV¶MRNHVZKHQWKH'HOWD-RNHDLUHG 8)
           $IWHUConan¶V'HOWD-RNHDLUHGKHWZHHWHGDW'HIHQGDQW6ZHHQH\VD\LQJ ³
          VXUH>KH@KDGDMRNHIURP>KLV@EORJXVHGRQWKHVKRZ ,¶PQRWXSVHW>EXW@ZRXOGOLNH
          WKHRSSRUWXQLW\WRFRQWULEXWHMRNHV´8)  7KUHHGD\VDIWHUWKH7RP%UDG\-RNH
          DLUHG.DVHEHUJWZHHWHGDWRQHRIConan¶VVNHWFKZULWHUVWKDWWKH³%UDG\MRNHZDVRQ
          P\EORJRQ)HEDQGRQWKHPRQRORJXHRQ)HE $Q\FKDQFH,FDQVHQGMRNHVRQ
          P\RZQDVDIUHHODQFHU"´8)
                7KHQDIWHUVHHLQJWKHConan 'HIHQGDQWV¶:DVKLQJWRQ0RQXPHQW-RNHRQ
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            0(025$1'802)32,176$1'$87+25,7,(6,62'()(1'$176¶027,21)256800$5<-8'*0(17$1'25
                    3$57,$/6800$5<-8'*0(1725,17+($/7(51$7,9(6800$5<$'-8',&$7,21
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Case 3:15-cv-01637-JLS-MSB Document 70-1 Filed 02/03/17 PageID.1828 Page 13 of 31



           Conan.DVHEHUJEHJDQFDOOLQJWKHVKRZDERXWWKHDOOHJHGVLPLODULWLHV DQGHYHQWXDOO\
           UHDFKHG6ZHHQH\ 8)  'XULQJWKLVFDOO.DVHEHUJagainH[SUHVVHGDQLQWHUHVWLQ
           ZRUNLQJIRUConanLQVRPHFDSDFLW\ 6ZHHQH\UHMHFWHG.DVHEHUJ¶VUHTXHVWIRUZRUN
           8)  )ROORZLQJWKHFDOO.DVHEHUJDJDLQWZHHWHGDW6ZHHQH\VD\LQJ³7KDQNVIRU
           WDNLQJP\FDOO /DVWWKLQJ,ZDQWHGZDVWRVRXQGDFFXVLQJ ,IWKHUHLVDQ\ZD\,FDQ
           FRQWULEXWHMRNHVOHWPHNQRZ´ 8)  $SSUR[LPDWHO\ILYHPRQWKVDIWHUWKDWWZHHW
           .DVHEHUJILOHGWKLVODZVXLWDFFXVLQJConanRIVWHDOLQJIRXURIKLVMRNHV 8) 
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                 $PRYLQJSDUW\LVHQWLWOHGWRVXPPDU\MXGJPHQWZKHQWKHHYLGHQFHYLHZHGLQ
          WKHOLJKWPRVWIDYRUDEOHWRWKHQRQPRYLQJSDUW\GHPRQVWUDWHVDODFNRIDQ\JHQXLQH
          LVVXHDVWRDQ\PDWHULDOIDFW Tarin v. Cnty. of Los Angeles)GWK
          &LU $FRXUWPD\JUDQWVXPPDU\DGMXGLFDWLRQDVWRFHUWDLQIDFWVLVVXHVRU
          DSSOLFDEOHOHJDOWKHRULHVGHHPLQJWKHPHVWDEOLVKHGIRUWULDOMory v. City of Chula
          Vista:/DW6'&DO6HSW 7KHPRYDQWEHDUVWKH
          EXUGHQRIHVWDEOLVKLQJWKHDEVHQFHRIDJHQXLQHLVVXHRIPDWHULDOIDFW Celotex Corp.
          v. Catrett,86 7KDWEXUGHQPD\EHPHWE\VKRZLQJWKDW
          WKHUHLVDQDEVHQFHRIHYLGHQFHWRVXSSRUWWKHQRQPRYDQW¶VFDVH Id.DW 2QFHWKH
          PRYDQWKDVPHWLWVLQLWLDOEXUGHQWKHQRQPRYLQJSDUW\PXVWJREH\RQGWKHSOHDGLQJV
          DQGLGHQWLI\VSHFLILFIDFWVWKDWVKRZDJHQXLQHLVVXHIRUWULDO See id. DW 2QO\
          JHQXLQHPDWHULDOGLVSXWHVZLOOSURSHUO\SUHFOXGHWKHHQWU\RIVXPPDU\MXGJPHQW
          Arpin v. Santa Clara Valley Transp. Agency)GWK&LU
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                 $    .DVHEHUJ)DLOHG7R5HJLVWHU7KH7RP%UDG\$QG8$%-RNHV
                       :KLFK,V$)XQGDPHQWDO3UHUHTXLVLWH7R)LOLQJ6XLW
                 $SDUW\FDQQRWPDLQWDLQDQLQIULQJHPHQWDFWLRQ³XQWLOSUHUHJLVWUDWLRQRU
          UHJLVWUDWLRQRIWKHFRS\ULJKWFODLPKDVEHHQPDGH´86&D 1LQWK
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            0(025$1'802)32,176$1'$87+25,7,(6,62'()(1'$176¶027,21)256800$5<-8'*0(17$1'25
                    3$57,$/6800$5<-8'*0(1725,17+($/7(51$7,9(6800$5<$'-8',&$7,21
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         &LUFXLWODZLVFOHDUWKDWDSODLQWLIIFDQQRWOLWLJDWHDQLQIULQJHPHQWFODLPXQWLOLWKDVDW
         OHDVWILOHGDQDSSOLFDWLRQWRUHJLVWHUWKHDOOHJHGO\LQIULQJHGFRS\ULJKWVCosmetic
         Ideas, Inc. v. IAC/Interactivecorp.)GWK&LU,WLVWKH
         SODLQWLII¶VEXUGHQWRGHPRQVWUDWHFRPSOLDQFHZLWKWKH&RS\ULJKW$FW¶VIRUPDOLWLHV
         LQFOXGLQJSURSHUUHJLVWUDWLRQSeeOlander Enters., Inc., v. Spencer Gifts, LLC)
         6XSSG&'&DO
                  .DVHEHUJFDQQRWSURYHWKDWKHUHJLVWHUHGRUHYHQDWWHPSWHGWRUHJLVWHUWKH
         7RP%UDG\RU8$%-RNHV,QIDFW'HIHQGDQW&RQDFR//&UHTXHVWHG³DOOGRFXPHQWV
         UHODWLQJWRWKHDSSOLFDWLRQDQGRUUHJLVWUDWLRQRIWKH-2.(6$7,668(ZLWKWKH
        8QLWHG6WDWHV&RS\ULJKW2IILFH´8),QUHVSRQVH.DVHEHUJDJUHHGWRSURGXFHDOO
        UHVSRQVLYHQRQSULYLOHJHGGRFXPHQWVLQKLVSRVVHVVLRQZLWKRXWREMHFWLRQ8)
        .DVHEHUJWKHQSURGXFHGXQFHUWLILHGFRSLHVRIIRXUUHJLVWUDWLRQFHUWLILFDWHV8)
        7KRVHUHJLVWUDWLRQVFRYHUHG³>W@H[WRIVHYHQMRNHVSXEOLVKHGRQ-DQXDU\
        ´ZKLFKFRUUHVSRQGVWRKLV'HOWD-RNH¶VSXEOLFDWLRQGDWH³>V@LQJOHMRNH
        ZULWWHQDQGSRVWHGRQ%ORJRQ-XQHUH&XO'H6DF´ZKLFKFRUUHVSRQGVWR
        KLV%UXFH-HQQHU-RNH³>W@H[WRIILYHMRNHVSRVWHGRQ-XQHDW
        DP´ZKLFKDOVRFRUUHVSRQGVWRKLV%UXFH-HQQHU-RNHDQG³>W@H[WRIVLQJOHMRNH
        SXEOLVKHGRQ)HEUXDU\´ZKLFKFRUUHVSRQGVWRKLV:DVKLQJWRQ0RQXPHQW
        -RNH¶VSXEOLFDWLRQGDWHId8)
                 6LJQLILFDQWO\.DVHEHUJIDLOHGWRSURGXFHDQ\HYLGHQFHSURYLQJWKDWKH
        UHJLVWHUHGWKH7RP%UDG\DQG8$%-RNHVZKLFKZHUHILUVWSXEOLVKHGRQ)HEUXDU\
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           WKURXJKHYLGHQFHRIGLUHFWFRS\LQJRUE\VKRZLQJWKDWWKHGHIHQGDQWKDG³DFFHVV´WR
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          Kaseberg’s first publication date. 8)  7KXV'HIHQGDQWVODFNHGDFFHVVWR
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     1     accused jokes. Yet, all three testified that they have never visited Kaseberg’s blog or
     2     Twitter page. UF 94.
     3

     4

     5           UF 90. Kaseberg also failed to produce any evidence (e.g., records reflecting
     6     “hits” to his website, list of accounts that follow his Twitter page, metatags used to
     7     attract viewers to his websites, etc.) that could link the Conan Defendants to
     8     Kaseberg’s jokes. Accordingly, Kaseberg’s general online presence is insufficient to
     9     establish a chain of events linking Kaseberg and Defendants.
    10           Kaseberg also cannot establish that his jokes were widely disseminated. In fact,
    11     Kaseberg’s only “evidence” of widespread dissemination is that “[a]nyone, including
    12     defendants and employees of defendants may access his content using a web
    13     browser.” UF 95. But merely having an online presence is insufficient to establish
    14     widespread dissemination. See, e.g., Art Attacks Ink, LLC v. MGA Entm’t, Inc., 581
    15     F.3d 1138, 1144 (9th Cir. 2009) (recognizing that while the Internet can reach a wide
    16     audience, there must be evidence to demonstrate wide dissemination); Stabile v. Paul
    17     Smith Ltd., 137 F. Supp. 3d 1173, 1187 (C.D. Cal. 2015) (finding that “simply
    18     displaying an image on [plaintiff’s] website for an undeterminable period of time is
    19     insufficient to demonstrate that it was widely disseminated”).
    20           Further, “the public dissemination necessary to infer that a defendant might
    21     have had access to the work is considerable.” Loomis v. Cornisch, 2013 WL 6044345,
    22     at *10 (C.D. Cal. Nov. 13, 2013). Again, Kaseberg failed to produce any evidence
    23     (e.g., records reflecting hits to his website) to establish that his blog or Twitter are
    24     widely disseminated. In fact, to the extent any information concerning Kaseberg’s
    25     online reach can be gleaned from Kaseberg’s evidence, such information cuts against
    26     a finding of widespread dissemination. For example, the three asserted jokes he
    27     posted to Twitter all show very little engagement, if any. Specifically, the Tom Brady
    28     Joke received no more than two likes and zero retweets, and the Washington
                                                        12
           MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND/OR
                   PARTIAL SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION
 1303011                                                                              15-cv-01637-JLS-DHB
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     1     Monument Joke and the Bruce Jenner Joke received no likes or retweets, at the time
     2     of the alleged infringement. UF 96. Such marginal reach dispels any realistic notion
     3     that dissemination of Kaseberg’s jokes was considerable.
     4           Summary judgment should be entered in Defendants’ favor based on the issue
     5     of access alone.
     6                  3.     Kaseberg’s Copyright Is “Thin” And He Cannot Establish The
     7                         Jokes At Issue Are Virtually Identical
     8           To determine substantial similarity, the Ninth Circuit applies a two-part test
     9     consisting of extrinsic and intrinsic components. Rice v. Fox Broad. Co., 330 F.3d
    10     1170, 1174-75 (9th Cir. 2003). For summary judgment, only the extrinsic test is
    11     relevant. Id. at 1174. The extrinsic test involves an objective comparison of the
    12     articulable similarities between two works. Id. It is the plaintiff’s burden to identify
    13     the protectable elements of the copyrighted work that allegedly are copied. Apple
    14     Computer, Inc. v. Microsoft Corp., 35 F.3d 1435, 1443 (9th Cir. 1994). Only
    15     protected expression is relevant for purposes of assessing substantial similarity. Shaw
    16     v. Lindheim, 919 F.2d 1353, 1361 (9th Cir. 1990). Thus, “‘[s]ubstantial similarity’
    17     refers to similarity of expression, not merely similarity of ideas or concepts.” Dr.
    18     Seuss Enter., L.P. v. Penguin Books USA, Inc., 109 F.3d 1394, 1398 (9th Cir. 1997).
    19           Further, in applying the extrinsic test, courts must use “analytic dissection to
    20     determine the scope of copyright protection before works are considered ‘as a
    21     whole.’” Id. Thus, “when applying the extrinsic test, a court must filter out and
    22     disregard the non-protectable elements in making its substantial similarity
    23     determination.” Cavalier v. Random House, Inc., 297 F.3d 815, 822 (9th Cir. 2002).
    24           “[T]he court must then apply the relevant limiting doctrines in the context of
    25     the particular medium involved, through the eyes of the ordinary consumer of that
    26     product.” Apple Computer, 35 F.3d at 1443. Finally, “[h]aving dissected the alleged
    27     similarities and considered the range of possible expression, the court must define the
    28     scope of the plaintiff's copyright – that is, decide whether the work is entitled to
                                                       13
           MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND/OR
                   PARTIAL SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION
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         SXQFKOLQHVDUHDWEHVWRQO\HQWLWOHGWRPLQLPDOFRS\ULJKWSURWHFWLRQ
                  $FFRUGLQJO\WRWKHH[WHQWWKDW.DVHEHUJ¶VMRNHVDUHHQWLWOHGWRDQ\FRS\ULJKW
         SURWHFWLRQVXFKSURWHFWLRQLV³WKLQ´
                                E   6WULSSHGRI1RQ3URWHFWDEOH(OHPHQWV7KH([SUHVVLRQ
                                      ,Q7KH3DUWLHV¶-RNHV$UH1RW9LUWXDOO\,GHQWLFDO
                  'HIHQGDQWVFRQFHGHWKDWDWILUVWEOXVKWKHMRNHVDSSHDUVLPLODU%XWLQDQ
         LQIULQJHPHQWFRQWH[WWKHDQDO\VLVFRPSDUHVRQO\WKHSURWHFWDEOHDVSHFWVRIDQ
         DOOHJHGO\LQIULQJHGZRUNApple Computer)GDW³2QO\WKRVHHOHPHQWVRI
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     1     a work that are protectable ... can be compared); see also Funky Films, 462 F.3d at
     2     1077 (courts only look to whether “protectable elements, standing alone, are
     3     substantially similar”) (internal citations omitted). When unprotectable elements are
     4     excluded, as they must be, Kaseberg cannot establish that his jokes are virtually
     5     identical. Indeed, a careful comparison of the jokes demonstrates that any similarities
     6     are limited to unprotectable ideas and unoriginal comedic conventions, which cannot
     7     give rise to infringement. Data East USA, Inc. v. Epyx, Inc., 862 F.2d 204, 208 (9th
     8     Cir. 1988) (“[T]o the extent the similarities between plaintiff's and defendant's works
     9     are confined to ideas and general concepts, these similarities are noninfringing.”). In
    10     contrast, substantial differences exist as to the particular expression of the jokes.
    11           Among other distinguishing factors in the expression, the parties’ jokes are
    12     worded differently, convey different actions, contain different levels of information,
    13     and involve different perspectives. Moreover, the structure of the jokes are different
    14     in large part because the jokes were intended to be delivered to their respective
    15     audiences in different mediums. In particular, Kaseberg wrote and published his jokes
    16     to be read online. As such, Kaseberg’s jokes follow the same, two-sentence, setup-
    17     punchline format, which is concisely digestible to a passive, solitary audience. In
    18     contrast, the Conan Defendants’ jokes are performed on stage by O’Brien, delivered
    19     to an audience. The Conan monologue writers craft the jokes with that distinction in
    20     mind. Thus, the structure and delivery of the jokes are more conversational in nature
    21     and often include improvised or ad-libbed language based on the audience’s reaction.
    22     The Conan Defendants’ jokes are structured such that the jokes will get the biggest
    23     laugh from the studio audience in the moment. Further, millions of people have a
    24     familiarity with O’Brien, and the writers take care to craft jokes that are consistent
    25     with his voice and his brand. Specific examples of these various distinguishing factors
    26     as to the protectable expression in the jokes at issue are presented below.
    27           The Delta Joke: O’Brien sets up the Conan Defendants’ Delta Joke with the
    28     following language before the premise: “This never happens anymore. This is a
                                                       16
           MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND/OR
                   PARTIAL SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION
 1303011                                                                             15-cv-01637-JLS-DHB
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          VWUDQJHVWRU\´&RQYHUVHO\.DVHEHUJ¶V'HOWD-RNHLPPHGLDWHO\MXPSVLQWRWKH
          SUHPLVHZKLFKKHFRSLHGIURPWKHConan'HIHQGDQWV .DVHEHUJ¶V'HOWD-RNHIXUWKHU
          VWDWHVWKDWWKHSDVVHQJHUV³ZUHVWOHGIRUFRQWURO´RIWKHDUPUHVW³WKHHQWLUHIOLJKW´,Q
          FRQWUDVWWKHConan'HIHQGDQWV¶MRNHVD\VWKDWSDVVHQJHUVVSHQWWKH³ZKROHIOLJKW
          ILJKWLQJRYHUWKHDUPUHVW´7KXVWKHSDUWLHV¶ MRNHVXVHGGLIIHUHQWH[SUHVVLYHODQJXDJH
          ³ZUHVWOH´YV³ILJKW´DQG³HQWLUH´YV³ZKROH´ZKHUHWKHConan'HIHQGDQWV¶
          SXQFKOLQHLVVWUXFWXUHGLQDQLQYHUVHPDQQHUDVFRPSDUHGWR.DVHEHUJ¶VSXQFKOLQH
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          LVVLJQLILFDQW 7KH\GHOLEHUDWHO\HQGHGWKHMRNHZLWKWKHZRUG³DUPUHVW´WRSUHYHQW
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         2¶%ULHQIROORZHGWKHMRNH¶VSUHPLVHZLWK³7ZRSDVVHQJHUVRQWKHZKROHSODQH´
         EHIRUHVHJXLQJWRKLVSXQFKOLQHZKHUHDV.DVHEHUJ¶VMRNHFRQWDLQVQRVXFKWUDQVLWLRQ
               7KH7RP%UDG\-RNHWKHConan'HIHQGDQWV¶7RP%UDG\-RNHPDNHVWZR
         UHIHUHQFHVWR³6XSHU%RZO´LQWKHVHWXSDORQH .DVHEHUJ¶V7RP%UDG\-RNHIDLOVWR
         XVHWKHWHUP³6XSHU%RZO´DWDOO ,QVWHDGLWPDNHVDVLQJOHUHIHUHQFHWRWKH³JDPH´
         WKHConan'HIHQGDQWV¶VHWXSDOVRPDNHVFOHDUWKDW7RP%UDG\ZDVJLYHQWKHWUXFNIRU
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         ZLWKQRUHIHUHQFHWRWKH6XSHU%RZORUKRZWKHWUXFNZDV%UDG\¶VWRJLYHDZD\
               2¶%ULHQHODERUDWHVRQWKHMRNH¶VVHWXSE\WZLFHPHQWLRQLQJKRZQLFHLWLVIRU
         7RP%UDG\WRJLYHWKHWUXFNDZD\ .DVHEHUJ¶VMRNHFRQWDLQVQRVLPLODUUHIHUHQFHRU
         VHJXH 2¶%ULHQUHVSRQGVWRWKHDXGLHQFH¶VUHDFWLRQPLGVWUHDPVD\LQJ³,GR´DQG
         ³\HV´EHIRUHGHOLYHULQJWKHSXQFKOLQH .DVHEHUJ¶VMRNHKDVQRVXFKODQJXDJH
               0RUHRYHU.DVHEHUJ¶VSXQFKOLQHUHDGV³HQMR\WKHWUXFN3HWH&DUUROO´,Q
         FRQWUDVWWKHConan'HIHQGDQWV¶SXQFKOLQHUHDGV³6R%UDG\LVJLYLQJKLVWUXFNWR
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         6HDKDZNVFRDFK3HWHU&DUUROO´WKHConan'HIHQGDQWV¶7RP%UDG\-RNHVSHFLILFDOO\
         LGHQWLILHV3HWH&DUUROODVWKH6HDKDZNVFRDFK.DVHEHUJ¶VGRHVQRW.DVHEHUJ¶V7RP
         %UDG\-RNHDOVRVDUFDVWLFDOO\WHOOV3HWH&DUUROOWR³HQMR\´WKHWUXFNZKHUHDVWKH
         Conan'HIHQGDQWV¶MRNHLVH[SUHVVHGLQDPRUHQHXWUDOWRQH)LQDOO\LQ.DVHEHUJ¶V
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         Conan'HIHQGDQWV¶MRNHH[SOLFLWO\VD\V7RP%UDG\JDYHWKHWUXFNWR3HWH&DUUROO
                  7KH:DVKLQJWRQ0RQXPHQW-RNH.DVHEHUJ¶VVHWXSUHDGV³7KH:DVKLQJWRQ
         0RQXPHQWLVWHQLQFKHVVKRUWHUWKDQSUHYLRXVO\WKRXJKW´1RWDEO\WKLVH[DFWSKUDVLQJ
         ZDVXVHGLQDWZHHWE\-LPP\)DOORQthe day before Kaseberg’s publication8)
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        SKUDVLQJRIIHUVPRUHVSHFLILFLQIRUPDWLRQ±e.gZKHQDQGKRZLWZDVGLVFRYHUHGWKH
        PRQXPHQWZDVVKRUWHUDQGZKRPDGHWKHGLVFRYHU\.DVHEHUJ¶VVHWXSGRHVQRWRIIHU
        DQ\RIWKHVHGHWDLOV7KHVHWXSVDUHIXUWKHUGLVWLQJXLVKDEOHDVWKHConan'HIHQGDQWV¶
        MRNHPDNHVFOHDUWKHPRQXPHQWLVVKRUWHUWKDQZKDWKDGEHHQ³SUHYLRXVO\recorded´
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                 7KHConan'HIHQGDQWV¶SXQFKOLQHDQWKURSRPRUSKL]HVWKH:DVKLQJWRQ
        0RQXPHQWVXJJHVWLQJWKDWWKHPRQXPHQWLWVHOIEODPHGWKH³VKULQNDJH´RQWKHFROG
        ZHDWKHU,QFRQWUDVW.DVHEHUJ¶VMRNHSUHVHQWVWKHSXQFKOLQHIURPDQRXWVLGH
        SHUVSHFWLYHVWDWLQJWKDW³<RXNQRZWKHZLQWHUKDVEHHQFROGZKHQDPRQXPHQW
        VXIIHUVIURPVKULQNDJH´%H\RQGWKHREMHFWLYHGLIIHUHQFHVLQWKHZRUGLQJRIWKH
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         ZDVD³SHQLVMRNH´.DVHEHUJHQGVKLVMRNHZLWKWKHVKULQNDJHSXQFKOLQH
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         WRZQVZKLFKKDYHVWUHHWVQDPHGDIWHU%UXFH-HQQHU,QFRQWUDVWWKHConan
         'HIHQGDQWV¶VHWXSRQO\PHQWLRQVWKDW³VRPHFLWLHVKDYHVWUHHWVQDPHGDIWHU%UXFH
         -HQQHU´.DVHEHUJ¶VMRNHVD\VWKHWRZQV³haveto considerchangingWKHQDPHWR
         &DLWO\Q´7KHConan'HIHQGDQWV¶MRNHVD\VWKDWFLWLHVDUHDFWLYHO\³trying to change
         WKHVWUHHWV¶QDPHWR&DLWO\QJenner´±LQFOXGLQJ³-HQQHU´ZKHUH.DVHEHUJGLGQRW
                  )XUWKHU.DVHEHUJ¶VSXQFKOLQHVWDWHVWKDWRQHVWUHHWZLOO³KDYHWRFKDQJHIURPD
         &XO'H6DFWRDCul-de-Sacless´7KHConan'HIHQGDQWV¶MRNHVD\VWKDW³Bruce
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        VRXQG0RUHRYHUWKHConan'HIHQGDQWV¶MRNHLVGLUHFWHGWRUHVLGHQWVRIWKHVWUHHW
        VSHFLILFDOO\LQWURGXFLQJWKHSXQFKOLQHZLWKWKHSKUDVH³,I\RXOLYHRQ%UXFH-HQQHU
        &XOGH6DF«´.DVHEHUJ¶VMRNHKDVQRVXFKSUHDPEOHWRKLVSXQFKOLQH
                 7KH8$%-RNH2¶%ULHQLQWURGXFHVWKHMRNHE\VWDWLQJ³%LJQHZVLQVSRUWV´
        .DVHEHUJ¶VMRNHFRQWDLQVQROHDGLQ2QFH2¶%ULHQWUDQVLWLRQVLQWRWKHIDFWXDOVHWXS
        RIKLVMRNHKHIRFXVHVRQWKHIDFWWKDWWKH³8QLYHUVLW\RI$ODEDPD%LUPLQJKDPhas
        decided to discontinueLWVIRRWEDOOteam´.DVHEHUJEHJLQVKLVMRNHE\VWDWLQJ³7KH
        8QLYHUVLW\RI$ODEDPD%LUPLQJKDPis shutting downLWVIRRWEDOOprogram´2¶%ULHQ
        SUHVHQWVWKHMRNHLQWKHSDVVLYHYRLFHXVLQJWKHWHUP³GLVFRQWLQXH´ZKLOH.DVHEHUJ
        SUHVHQWVWKHVHWXSLQWKHDFWLYHYRLFHDQGXVHVWKHSKUDVH³VKXWWLQJGRZQ´,Q
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        SXQFKOLQHUHDGV³7RZKLFKWKH2DNODQG5DLGHUVVDLGµ:DLWVR\RXFDQGRWKDW"¶´
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          5DLGHUV¶IRRWEDOOteamLWVHOI )XUWKHULQ.DVHEHUJ¶VMRNHWKH5DLGHUVRUJDQL]DWLRQ
          DVNV³you canGRWKDW"´ZKLOHWKHConan 'HIHQGDQWV¶MRNHLVZRUGHGVRWKDW-HWV¶
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                                          8) 
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          VLPLODUSURWHFWDEOHHOHPHQWVLQWKHSXQFKOLQHWRGLVWLQJXLVK)LQDOO\2¶%ULHQH[SDQGV
          RQWKHSXQFKOLQH³,VWKDWVRPHWKLQJ\RXFDQGR"´ZKHUHDV.DVHEHUJGRHVQRW
                2YHUDOOQRUHDVRQDEOHMXURUFRXOGFRQFOXGHWKDWDQ\SURWHFWHGH[SUHVVLRQLQWKH
          SDUWLHV¶MRNHVLVYLUWXDOO\LGHQWLFDO $VVXFKVXPPDU\MXGJPHQWRIQRQLQIULQJHPHQW
         VKRXOGEHJUDQWHGLQ'HIHQGDQWV¶IDYRU
               &     7KH Conan 'HIHQGDQWV¶,QGHSHQGHQWO\&UHDWHG7KH-RNHV$W,VVXH
               'HIHQGDQWVDUHDOVRHQWLWOHGWRVXPPDU\MXGJPHQWLIWKHLUMRNHVZHUH
         LQGHSHQGHQWO\FUHDWHG See Granite Music Corp. v. United Artist Corp)G
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               SecondHYLGHQFHUHODWLQJWRWKHFUHDWLRQWKHLWVDFFXVHGMRNHVDOVRFRQFOXVLYHO\
         HVWDEOLVKHVWKH\ZHUHLQGHSHQGHQWO\ FUHDWHGE\WKHConan'HIHQGDQWV )RUH[DPSOH
         WKHWKUHHPRQRORJXHZULWHUVWKDWFUHDWHGWKHDFFXVHGMRNHVDOOGHFODUHGXQGHUSHQDOW\
         RISHUMXU\WKDWWKH\GLGQRWFRS\.DVHEHUJ¶VMRNHV 8)  1RQHRIWKHPKDGHYHU
         KHDUGRI.DVHEHUJYLVLWHG.DVHEHUJ¶VEORJRUWZLWWHUSDJHRUVHHQDQ\RI.DVHEHUJ¶V
         MRNHVDWLVVXHSULRUWRWKHDOOHJHGLQIULQJHPHQW 8)  $QGGHVSLWHWDNLQJHOHYHQ
         GHSRVLWLRQVQRQHRI'HIHQGDQWV¶ZLWQHVVHVWHVWLILHGWRKDYLQJHYHQKHDUGRI
                                                       
           0(025$1'802)32,176$1'$87+25,7,(6,62'()(1'$176¶027,21)256800$5<-8'*0(17$1'25
                   3$57,$/6800$5<-8'*0(1725,17+($/7(51$7,9(6800$5<$'-8',&$7,21
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Case 3:15-cv-01637-JLS-MSB Document 70-1 Filed 02/03/17 PageID.1841 Page 26 of 31
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         .DVHEHUJPXFKOHVVYLHZLQJKLVEORJWZLWWHUSDJHRUWKHMRNHVDWLVVXHSULRUWR
         OHDUQLQJDERXW.DVHEHUJ¶VDFFXVDWLRQV8)0RUHRYHUDOOFRPPXQLFDWLRQV
         EHWZHHQ&RPHUV.LOH\.XWQHUDQG:HLVEHUJIRUWKHGD\VDWLVVXHZHUHSURGXFHG
         8)1RQHRIWKRVHFRPPXQLFDWLRQVPHQWLRQ.DVHEHUJRUKLVPDWHULDOId
                  $GGLWLRQDOO\WKHWKUHHPRQRORJXHZULWHUVWKDWFUHDWHGWKHConan'HIHQGDQWV¶
         MRNHVGRQRWSHUIRUPJHQHUDORQOLQHVHDUFKHVORRNDWRWKHUFRPLFV¶PDWHULDOVRUYLVLW
         VRFLDOPHGLDWRSHUIRUPWKHLUSUHPLVHUHVHDUFK8)7KHLUOLPLWHGUHVHDUFKLV
         UHVWULFWHGWRDKDQGIXORIVSHFLILFQHZVRXWOHWVWKH\SUHIHUDQGLVVROHO\WRJDWKHU
         IDFWXDOSUHPLVHV±QRWWRJDLQLQVSLUDWLRQIRUSXQFKOLQHV8)7KLVPDNHVLW
        YLUWXDOO\LPSRVVLEOHIRUDQ\ZULWHUPXFKOHVVWKUHHVHSDUDWHZULWHUVWRKDYH
        LQGHSHQGHQWO\VWXPEOHGRQWR.DVHEHUJ¶VMRNHVIRUVRXUFHPDWHULDO±HVSHFLDOO\JLYHQ
        WKHOLPLWHGUHDFKRIKLVSRVWVDQGWKHQRQH[LVWHQWDZDUHQHVVRIKLVSODWIRUPV
                 (YHQDVVXPLQJWKDWConan¶VZULWHUVDOOLQGHSHQGHQWO\UHYLHZHG.DVHEHUJ¶V
        MRNHVRQOLQHWKH\VWLOOZRXOGKDYHDEVROXWHO\QRLQFHQWLYHWRFRS\WKRVHMRNHVJLYHQ
        Conan¶VVXEPLVVLRQSURWRFRO7KHUHLVQRUHTXLUHPHQWWKDWDZULWHUVXEPLWD
        PLQLPXPQXPEHURIMRNHVIRUWKHPRQRORJXHHDFKGD\8)1RULVWKHUHDQ\
        UHTXLUHPHQWWKDWDVKRZ¶VPRQRORJXHPXVWIHDWXUHDFHUWDLQQXPEHURIMRNHV8)
        0RQRORJXHMRNHVDUHUHYLHZHGDQRQ\PRXVO\8)7KHUHLVQRDWWULEXWLRQDVWR
        LQGLYLGXDOPRQRORJXHMRNHVDQGWKHVKRZGRHVQRWNHHSWUDFNRIDSDUWLFXODU
        PRQRORJXHZULWHU¶VVXEPLVVLRQV8)%HFDXVHRIWKLVSURFHVVWKHPRQRORJXH
        VXEPLVVLRQVRIDQ\ZULWHUGRQRWDQGFRXOGQRWIDFWRULQWRWKHLUVWDQGLQJDWWKHVKRZ
        ±LQFOXGLQJGHFLVLRQVUHJDUGLQJUHWHQWLRQWHUPLQDWLRQRUFRPSHQVDWLRQId
                 ,QFRQWUDVWConan’sPRQRORJXHZULWHUVKDYHJRRGUHDVRQWRGHOLEHUDWHO\DYRLG
        FRS\LQJPDWHULDO2¶%ULHQ6ZHHQH\&RPHUV.XWQHUDQG.LOH\DOOWHVWLILHGWKDW
        VWHDOLQJMRNHVLVDQXQDFFHSWDEOHSUDFWLFH8)&RQVLVWHQWZLWKWKLVYLHZConan
        KDVDQLQIRUPDOSROLF\LQSODFHZKHUHPRQRORJXHMRNHVZLOOEHSXOOHGLILWLVHYHU
        GLVFRYHUHGWKDWWKH\DUHVLPLODUWRDMRNHWROGE\DQ\RQHHOVHHYHQLIWKHVLPLODULW\LV
        SXUHO\FRLQFLGHQWDO8)$VVXFKLWVLPSO\GRHVQRWIROORZWKDW2¶%ULHQRUKLV
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               0(025$1'802)32,176$1'$87+25,7,(6,62'()(1'$176¶027,21)256800$5<-8'*0(17$1'25
                       3$57,$/6800$5<-8'*0(1725,17+($/7(51$7,9(6800$5<$'-8',&$7,21
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Case 3:15-cv-01637-JLS-MSB Document 70-1 Filed 02/03/17 PageID.1842 Page 27 of 31



          ZULWHUVZRXOGULVNWKHLUUHSXWDWLRQVDQGSRWHQWLDOO\WKHLUFDUHHUV WRVHDUFKRXWDQG
          FRS\.DVHEHUJ¶VMRNHVIRUXVHRQWKHVKRZ
                 7KHWLPHLQWHQVLYHKLJKO\VWUXFWXUHGSURFHVVRIGHYHORSLQJConan¶V
          PRQRORJXHIXUWKHUVXSSRUWVDGHWHUPLQDWLRQWKDWWKHConan'HIHQGDQWVLQGHSHQGHQWO\
          FUHDWHGWKHDFFXVHGMRNHV 2QDW\SLFDOGD\WKHZULWHUVVSHQGDPD[LPXPRI
          PLQXWHVUHVHDUFKLQJSUHPLVHVEXWVXEPLWDWOHDVWMRNHV 8) %HWZHHQWKH
          PHHWLQJVWKH\DWWHQGDQGWKHWLPHLWWDNHVWRZULWHWKHDSSUR[LPDWHO\SOXVMRNHV
          HDFKZULWHUVXEPLWVWKHZULWHUVVLPSO\GRQRWKDYHWKHWLPHWRFKHFNRQFRPHG\
          ZULWHUV¶RQOLQHSODWIRUPVRUVFRXUWKHLQWHUQHWIRUPRQRORJXHVW\OHMRNHVWRVWHDO
                ,QDGGLWLRQWRWLPHFRQVWUDLQWVWKHConan 'HIHQGDQWV¶MRNHVDUHLQIRUPHGE\
         RWKHUFKDUDFWHULVWLFVRIWKHPRQRORJXHGHYHORSPHQWSURFHVV )RUH[DPSOHWKH
         :DVKLQJWRQ0RQXPHQWMRNHVSDZQHGIURPDQLQWHUQSUHPLVHFLUFXODWHGWKHDIWHUQRRQ
         WKHMRNHDLUHG 8) 1RWDEO\WKHLQWHUQSXOOHGWKHSUHPLVHIURPD+XIILQJWRQ3RVW
         $UWLFOHQRWIURP.DVHEHUJ Id 0RUHRYHUWKH8$%¶VMRNH¶VSXQFKOLQH ³:DLWFDQ
         \RXGRWKDW"´LVDFDWFKSKUDVHXVHGE\2¶%ULHQLQKLVSXQFKOLQHVFRXQWOHVVWLPHVRYHU
         WKH\HDUV 8)  ,QGHHGConan’sPRQRORJXHZULWHUVVXEPLWWHGVRPHYDULDWLRQRIWKH
         SXQFKOLQHQXPHURXVWLPHVZLWKYDULRXVIDFWXDOVHWXSV 8)  7KLVLVIXUWKHULQGLFLD
         RIWKHConan 'HIHQGDQWV¶LQGHSHQGHQWFUHDWLRQ
                ThirdDQ\VLPLODULWLHVEHWZHHQWKHSDUWLHV¶MRNHVDUHDWWULEXWDEOHWRWKHQDWXUH
         RIWKHMRNHVWKHPVHOYHV %HFDXVHSUHPLVHVWRPRQRORJXHVW\OHMRNHVGHULYHIURP
         FXUUHQWHYHQWVDQGQHZVVWRULHV FRXQWOHVVSHRSOHe.g RWKHUODWHQLJKWKRVWV
         LQGLYLGXDOVRQVRFLDOPHGLDHWF DUHDOOFUHDWLQJMRNHVGHULYHGIURPWKHVDPHVWDUWLQJ
         SRLQW $VVXFKLWLVLQHYLWDEOHWKDWPXOWLSOHSDUWLHVZLOODWWLPHVDOVRDUULYHDWWKH
         VDPHHQGSRLQWWRDMRNHLQGHSHQGHQWRIRQHDQRWKHU
    

                                                                        8)
                7KHMRNHVDWLVVXHLQWKLVFDVHDUHSDUWLFXODUO\VXVFHSWLEOHWRRYHUODSGXHWR
         SDUDOOHOWKRXJKW ,QGHHGDWOHDVWVL[GLIIHUHQWSHRSOHSRVWHGMRNHVVLPLODUWRWKH7RP
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           0(025$1'802)32,176$1'$87+25,7,(6,62'()(1'$176¶027,21)256800$5<-8'*0(17$1'25
                   3$57,$/6800$5<-8'*0(1725,17+($/7(51$7,9(6800$5<$'-8',&$7,21
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Case 3:15-cv-01637-JLS-MSB Document 70-1 Filed 02/03/17 PageID.1843 Page 28 of 31



          %UDG\-RNH 8)GLIIHUHQWSHRSOHSRVWHGMRNHVVLPLODUWRWKH:DVKLQJWRQ
          0RQXPHQW-RNH 8)IRXUGLIIHUHQWSHRSOHSRVWHGMRNHVVLPLODUWRWKH%UXFH
          -HQQHU-RNH 8)DQGWZRGLIIHUHQWSHRSOHSRVWHGMRNHVVLPLODUWRWKH8$%-RNH
          8)±DOObefore .DVHEHUJ¶VSXEOLFDWLRQV $QGWKHVLPLODULWLHVZHUHQRWWULYLDO
                )RUH[DPSOHLQUHVSRQVHWRDWZHHWUHSRUWLQJWKDW7RP%UDG\ZDQWVWRJLYHKLV
          WUXFNWR3DWULRWVWHDPPDWH0DOFRP%XWOHU D 7ZLWWHUXVHUMRNHG³:K\QRW3HWH
          &DUUROO"´ 8) $QRWKHU7ZLWWHUXVHUZURWH³7KH:DVKLQJWRQ0RQXPHQWKDVEHHQ
          IRXQGWREHIHHWVKRUWHUWKDQRULJLQDOO\PHDVXUHG ,EODPHWKHFROGZHDWKHUIRUWKH
          VKULQNDJH´ 8) $QRWKHUSHUVRQWZHHWHGDQDUWLFOHDERXWZKHWKHU%UXFH-HQQHU
         /DQHLQ$XVWLQVKRXOGFKDQJHLWVQDPHDQGMRNHG³1RWLILW¶VDFXOGHVDF´ 8)
         )LQDOO\RQH7ZLWWHUXVHUSRVWHG³6R8$%LVVKXWWLQJWKHLUIRRWEDOOSURJUDPGRZQ
         &DQWKH7LWDQVGRWKDW""´ 8) 7KHVHH[DPSOHVGHPRQVWUDWHWKHSUHYDOHQFHRI
         SDUDOOHOWKRXJKWDVWRWKHMRNHVDWLVVXHKHUH
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                                                                        8)  %RRVOHU
         DFNQRZOHGJHGWKDWWKHWRSLFVDWLVVXHKHUHOHQGWKHPVHOYHVWRSDUDOOHOWKRXJKWDVWKH\
         ZHUHGHULYHGIURPQRWHZRUWK\FXUUHQWHYHQWV 8) 6KHDOVRQRWHGWKDW.DVHEHUJ¶V
         SXQFKOLQHVZHUHQRWSDUWLFXODUO\XQLTXH 8) *LYHQWKLVVKHWHVWLILHGWKDWRYHUODS
         DPRQJWKHMRNHVDWLVVXHFRXOGEHDWWULEXWDEOHWRSDUDOOHOWKRXJKW 8)
               %H\RQGWKHMRNHVDWLVVXHLQWKLVDFWLRQWKHConan'HIHQGDQWVSURGXFHGWZHOYH
         DGGLWLRQDOH[DPSOHVRISDUDOOHOWKRXJKWRFFXUULQJEHWZHHQConanDQG.DVHEHUJ 8)
          ,QHDFKRIWKHVHLQVWDQFHVConan¶VMRNHZDVFUHDWHGILUVW Id $VVXPLQJ.DVHEHUJ
         GLGQRWFRS\WKHVHMRNHVWKHVHH[DPSOHVIXUWKHUGHPRQVWUDWHWKDWVLPLODULWLHVDPRQJ
         MRNHVE\.DVHEHUJDQGWKHConan'HIHQGDQWVDUHDUHVXOWRISDUDOOHOWKRXJKWDV
         RSSRVHGWRGHOLEHUDWHFRS\LQJ 1RWDEO\ZKHQFRQIURQWHGZLWKWKHVHH[DPSOHVDW
         GHSRVLWLRQ%RRVOHUZDVXQDEOHWRSURYLGHDQ\DOWHUQDWLYHH[SODQDWLRQIRUWKHRYHUODS
         EH\RQGWKHH[LVWHQFHRISDUDOOHOWKRXJKWRULQGHSHQGHQWFUHDWLRQ 8) 
                                                       
           0(025$1'802)32,176$1'$87+25,7,(6,62'()(1'$176¶027,21)256800$5<-8'*0(17$1'25
                   3$57,$/6800$5<-8'*0(1725,17+($/7(51$7,9(6800$5<$'-8',&$7,21
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Case 3:15-cv-01637-JLS-MSB Document 70-1 Filed 02/03/17 PageID.1844 Page 29 of 31



                ,QDGGLWLRQWRWKHSDUWLHV¶MRNHV¶VW\OHVRYHUODSEHWZHHQWKHLUMRNHVFDQDOVREH
          DWWULEXWHGWR.DVHEHUJ¶VUHSHDWHGGHOLEHUDWHHIIRUWVWRLPLWDWHWKHPRQRORJXHMRNHV
          IHDWXUHGLQODWHQLJKWVKRZVLQFOXGLQJConan
                                                                         8) 
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                                                                    8)8)
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                                                      8) *LYHQDOOWKLVLWLVXQVXUSULVLQJWKDW
          VSRUDGLFLQVWDQFHVRIRYHUODSRFFXUUHGEHWZHHQWKHSDUWLHV ,QGHHGWKHRQO\VXUSULVH
         LVWKDWJLYHQWKHVHFLUFXPVWDQFHV.DVHEHUJZRXOGDFFXVHWKHConan'HIHQGDQWVRI
         VWHDOLQJKLVMRNHVZKLFKKDVEHHQUHIXWHGE\DOOHYLGHQFHLQWKLVFDVH
               )LQDOO\WDNLQJDEURDGHUORRNDWWKLVLVVXHLWLVHYLGHQWWKDWSDUDOOHOWKRXJKWLV
         DQLQQDWHUHDOLW\LQWKHZRUOGRIODWHQLJKWWDONVKRZVDQGPRQRORJXHMRNHV ,QGHHG
         Conan’sZULWHUVWHVWLILHGDQGGHFODUHGXQGHUSHQDOW\RISHUMXU\WRWKLVEHLQJD
         IUHTXHQWRFFXUUHQFHDPRQJWKHLURZQVWDIIDQGWRKDYLQJSHUVRQDOH[SHULHQFHZLWKLW
         KDSSHQLQJDPRQJRWKHUVKRZV 8)  ,QGHHGDIDLUO\UHFHQWH[DPSOHRIWKLVFDQEH
         VHHQLQWKHPRQRORJXHVRILate Night with Seth Meyers DQGThe Late Show with
         James Corden. 'XULQJKHUSUHVLGHQWLDOFDPSDLJQ+LOODU\&OLQWRQUHIHUUHGWR'RQDOG
         7UXPSVXSSRUWHUVDVD³EDVNHWRIGHSORUDEOHV´/DWFKLQJRQWRWKLVFXUUHQWHYHQWERWK
         0\HUVDQG&RUGHQMRNHGGXULQJWKHLUPRQRORJXHVWKDW³EDVNHWRIGHSORUDEOHV´VRXQGV
         OLNHDSURGXFWRIIHUHGE\.)& 8)  2QWRSRIWKDWVHYHUDOSHRSOHRQ7ZLWWHU
         PDGHWKHVDPHREVHUYDWLRQRQWKHVDPHSUHPLVHEHIRUHHLWKHUVKRZDLUHG 8) 
         7KLVVHUYHVWRVKRZWKDWQHZVZRUWK\HYHQWV±OLNHWKRVHWKDWVHUYHDVWKHSUHPLVHVIRU
         WKHMRNHVDWLVVXH±LQKHUHQWO\UHVXOWLQSDUDOOHOWKRXJKWERWKDFURVVODWHQLJKWVKRZV
         DQGEHWZHHQODWHQLJKWVKRZVDQGVRFLDOPHGLDXVHUV
               ,QVXPVXEVWDQWLDODQGFRPSHOOLQJHYLGHQFHH[LVWVWRMXVWLI\VXPPDU\
         MXGJPHQWEDVHGRQLQGHSHQGHQWFUHDWLRQLQWKLVFDVH
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                                                       
           0(025$1'802)32,176$1'$87+25,7,(6,62'()(1'$176¶027,21)256800$5<-8'*0(17$1'25
                   3$57,$/6800$5<-8'*0(1725,17+($/7(51$7,9(6800$5<$'-8',&$7,21
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                   '    'HIHQGDQWV'LG1RW:LOOIXOO\,QIULQJH.DVHEHUJ¶V&RS\ULJKWV
                   7KH&RS\ULJKW$FWSURYLGHVDQDGGLWLRQDOUHPHG\LIWKHSODLQWLIIFDQVKRZWKDW
          WKHYLRODWLRQZDVZLOOIXOSee86&F7RSURYHZLOOIXOQHVV³WKH
          SODLQWLIIPXVWVKRZWKDWWKHGHIHQGDQWZDVDFWXDOO\DZDUHRIWKHLQIULQJLQJ
          DFWLYLW\RUWKDWWKHGHIHQGDQW¶VDFWLRQVZHUHWKHUHVXOWRIµUHFNOHVVGLVUHJDUG¶IRU
          RUµZLOOIXOEOLQGQHVV¶WRWKHFRS\ULJKWKROGHU¶VULJKWV´Washington Shoe Co. v. A-Z
          Sporting Goods Inc)GWK&LU³>:@KHUHWKHUHOHYDQWIDFWV
          DUHDGPLWWHGRURWKHUZLVHXQGLVSXWHGZLOOIXOQHVVFDQEHDSSURSULDWHO\UHVROYHGRQ
          VXPPDU\MXGJPHQW´UMG Recordings, Inc. v. Disco Azteca Distrib., Inc.)
         6XSSG('&DOFLWDWLRQRPLWWHG
                  +HUH.DVHEHUJKDV]HURHYLGHQFHWRVKRZWKDW2¶%ULHQRUKLVZULWHUVZHUH
         DZDUHRIWKHDVVHUWHGMRNHVSULRUWR2¶%ULHQ¶VUHOHYDQWSHUIRUPDQFHV1RUGRHV
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         ULJKWVZKHQWHOOLQJKLVPRQRORJXHMRNHV,QIDFWDVH[SODLQHGDERYH.DVHEHUJFDQQRW
         HYHQHVWDEOLVKWKDW2¶%ULHQRUKLVZULWHUVKDGDQ\DFFHVVWR.DVHEHUJ¶VMRNHVLQRUGHU
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         9      &21&/86,21
                  )RUWKHDIRUHPHQWLRQHGUHDVRQV'HIHQGDQWVUHVSHFWIXOO\UHTXHVWWKDWWKLV&RXUW
         JUDQWWKHLUPRWLRQIRUVXPPDU\MXGJPHQW+RZHYHULIIRUDQ\UHDVRQFRPSOHWH
         VXPPDU\MXGJPHQWFDQQRWEHJUDQWHG'HIHQGDQWVUHTXHVWWKDWWKDWWKLV&RXUWJUDQW
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                                                          Attorneys for Defendants Conaco LLC;
                                                            Turner Broadcasting System;
                                                          Time Warner, Inc.; Conan O’Brien;
                                                            Jeff Ross; Mike Sweeney
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